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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

WADNISHA REESE                                               CIVIL ACTION


VERSUS                                                       NUMBER

                                                             SECTION
MICHELLE RUFFIN, individually and in her official
capacity as an Officer for the Jefferson Parish Sheriff
Office, JOSEPH P. LOPINTO, III, individually and in
his official capacity as Sheriff of Jefferson Parish,
PATRICK BLANCHARD, individually and in                      JUDGE
his official capacity as an Officer of the Jefferson Parish
Sheriff Office, HIEP NGUYEN, individually and in
his official capacity as an Officer of the Jefferson Parish
Sheriff Office, TASHA RIOS, individually and in her
official capacity as a Lieutenant of the Jefferson Parish
Sheriff Office, NATASHA LEFLORE, individually
and in her official capacity as an officer of the
Jefferson Parish Sheriff Office, JOHANNA ADAMS, JURY TRIAL REQUESTED
individually and in her official capacity as a Sergeant
of the Jefferson Parish Sheriff Office,
JONATHAN BENTEL, individually and in his official
capacity as a Deputy of the Jefferson Parish Sheriff
Office, LATOYA RABB, individually and in her official
capacity as a Deputy of the Jefferson Parish Sheriff
Office, CONNER THAMES, individually and in his
official capacity as a Deputy of the Jefferson Parish
Sheriff Office, and VARIOUS UNKNOWN OFFICERS
OF JEFFERSON PARISH SHERIFF’S OFFICE

                      PLAINTIFF’S ORIGINAL COMPLAINT
   I.      JURISDICTION AND VENUE

        1. Jurisdiction exists in this court pursuant to 28 U.S.C. §§ 1331 and 1343 as this action

is brought under, inter alia, the Fourth Amendment of the United States Constitution and 42

U.S.C. § 1983, including compensatory damages, punitive damages, costs and attorney’s fees




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pursuant to 42 U.S.C. § 1998, to redress the deprivation of rights, privileges and immunities

guaranteed to Plaintiff, by constitutional and statutory provisions.

         2. The court has federal question jurisdiction over Plaintiff’s federal law claims pursuant

to 28 U.S.C. § 1331, 1343(a)(3). Plaintiff’s state law claims are related to these federal claims

and form a part of the same case or controversy. The court accordingly has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. §1367(a).

         3. Venue is proper in this court because the causes of action occurred within the Eastern

District of Louisiana and all Defendants worked and/or resides within the district.

   II.      PARTIES

   a. PLAINTIFF

         4. Plaintiff, WADNISHA REESE, a person of the full age of majority, and a

resident of Metairie, Louisiana.

   b. DEFENDANTS

         5. Defendant, MICHELLE RUFFIN, individually and in her official capacity as officer

for the Jefferson Parish Sheriff Office, a person of the full age of majority and a resident of the

Jefferson Parish, State of Louisiana.

         6. Defendant, JOSEPH P. LOPINTO, III, in his official capacity as the sheriff for the

Jefferson Parish Sheriff Office, a person of the full age of majority and a resident and domiciled

in Jefferson Parish, State of Louisiana, and all material times herein acting in his capacity as

Sheriff in the scope of his employment with the Jefferson Parish Sheriff Office. He was

responsible for the policies, practices, customs, procedures and deliberate indifference of the

Jefferson Parish Sheriff Office, as well as the hiring, training, supervision, discipline and control

of police personnel under his command which includes the Jefferson Parish Sheriff Office



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defendants named and referenced herein; He was and is a final policymaker, and at all pertinent

times was acting under color of law. He is liable both directly and vicariously for the actions

complained of herein.

       7. Defendant, PATRICK BLANCHARD, individually and in his official capacity as an

officer for the Jefferson Parish Sheriff Office, a person of the full age of majority and a resident

of the Jefferson Parish, State of Louisiana.

       8. Defendant, HIEP NGUYEN, individually and in his official capacity as an

officer for the Jefferson Parish Sheriff Office, a person of the full age of majority and a resident

of the Jefferson Parish, State of Louisiana.

       9. Defendant, TASHA RIOS, a person of full age of majority and a resident of

Jefferson Parish, Louisiana, is sued in her individual and official capacity. Rios is a Lieutenant of

the Jefferson Parish Sheriff Office.

       10. Defendant, NATASHA LEFLORE, individually and in her official capacity as an

officer for the Jefferson Parish Sheriff Office, a person of the full age of majority and a resident

of the Jefferson Parish, State of Louisiana.

       11. Defendant, JOHANNA ADAMS, a person of full age of majority and a resident of

Jefferson Parish, Louisiana, is sued in her individual and official capacity. Adams is a Sergeant

of the Jefferson Parish Sheriff Office.

       12. Defendant, JONATHAN BENTEL, individually and in his official capacity as an

officer for the Jefferson Parish Sheriff Office, a person of the full age of majority and a resident

of the Jefferson Parish, State of Louisiana.

       13. Defendant, LATOYA RABB, individually and in her official capacity as a




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deputy for the Jefferson Parish Sheriff Office, a person of the full age of majority and a resident

of the Jefferson Parish, State of Louisiana.

          14. Defendant, CONNER THAMES, individually and in his official capacity as a

deputy for the Jefferson Parish Sheriff Office, a person of the full age of majority and a resident

of the Jefferson Parish, State of Louisiana.

          15. Ms. Reese also pursues this action against various unknown Jefferson Parish Sheriff

Officers, who at all relevant times and along with the above named officers, are jointly and

severally liable and will be named at a later time once their identities are uncovered during the

course of discovery.

   III.      STATEMENT OF FACTS

          16. On or about January 20, 2021, at approximately 2:50 a.m., Wadnisha Reese

(hereinafter referred to as “Ms. Reese”) was escorted to Jefferson Parish Correctional Center into

Intake Booking by patrol deputies Conner Thames and Latoya Rabb after being arrested at the

Oakwood Mall parking lot for lewd conduct.

          17. Ms. Reese was upset and stated she should not have been arrested.

          18. Correctional Officer Michelle Ruffin, Sergeant Johanna Adams, Correctional Officer

Hiep Nguyen, Lieutenant Tasha Rios and Correctional Officer Natasha Leflore all assisted patrol

deputies Thames and Rabb with escorting Ms. Reese.

          19. Ms. Reese leans against the wall at intake booking irate that she has been arrested and

she is surrounded by various Jefferson Parish officers.

          20. While Ms. Reese is surrounded, Officer Ruffin grabs Ms. Reese by the throat and Ms.

Reese is knocked to the ground with the various officers pouncing on Ms. Reese beating her.

          21. Ms. Reese was eventually placed into double locked handcuffs on her wrists and



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ankles with a mask over her face and placed in the intake detox holding cell.

       22. Deputy Jonathan Bentel placed Ms. Reese in the detox holding cell and Officer

Nguyen went and retrieved a restraint chair.

       23. Deputy Bentel and Officer Nguyen along with various other officers placed Ms.

Reese in the restraint chair, at one point in the encounter Ms. Reese was placed upside down in

the restraint chair hitting her head. Ms. Reese was eventually placed right side up and strapped

to the chair with the mask over her head and left alone in the detox holding cell.

       24. Ms. Reese was eventually escorted by Correctional Officer Austin Vigurie to Correct

Health within Jefferson Parish Correctional Center to be examined by Nurse Dannette Duplessis.

       25. Nurse Dannette Duplessis observed Ms. Reese injuries.

       26. Deputy Bentel took photographs of Ms. Reese injuries.

       27. Officer Patrick Blanchard then advised Ms. Reese of her Miranda Rights and

informed Ms. Reese she would be charged with La R.S. 14.34.2.B(3)A-battery of a police officer

with injury, La R.S. 14.34.2.B(1)A-battery of a police officer, and La R.S. 14.108.2-resisting

police officer with force of violence.

       28. Officer Blanchard, acting in his capacity as an officer with the Jefferson Parish

Sheriff Office investigated the incident.

       29. Officer Blanchard noted surveillance cameras in Intake Booking captured the incident

and the footage was logged into evidence at the evidence locker.

       30. Ms. Reese was booked into the Jefferson Parish Correctional Center and remanded to

Jefferson Parish Prison.

       31. Ms. Reese initially pled not guilty to the charges on March 17, 2021.

       32. Under duress, Ms. Reese changed her plea to guilty on April 22, 2021, and was



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sentenced to time served.

         33. Ms. Reese had been in Jefferson Parish Prison since January 20, 2021.

   IV.      CLAIMS FOR RELIEF

   A. EXCESSIVE FORCE BY DEFENDANT, MICHELLE RUFFIN
      (Individually and in her official capacity) Count I - 42 U.S.C. §1983

         34. Plaintiff incorporates by reference paragraph l through 33 as if fully set forth

herein. Plaintiff will show that defendant, Michelle Ruffin, actions on the occasion in

question were wrongful, malicious and reckless in depriving Ms. Reese of her constitutional

rights, as alleged more fully below.

         35. Plaintiff will show that all times material hereto Defendant, Michelle Ruffin, had

a duty to avoid infliction of unjustified bodily injury to Ms. Reese, to protect her bodily

integrity and to not trample on her constitutional rights.

         36. Plaintiff will show that Defendant Michelle Ruffin, failed to act as a reasonable

officer would have acted in the same or similar circumstances. That is, Defendant, Michelle

Ruffin, without justification and the need to do so, used excessive force as described above

and severely injured Ms. Reese without legal justification. Ms. Reese never made any

threatening gestures towards defendant Michelle Ruffin and did not pose an immediate

threat to the safety of defendant, Michelle Ruffin or others.

         37. Defendant, Michelle Ruffin was not provoked when she choked and struck Ms.

Reese for no lawful or justifiable reason. The excessive and deadly force used by defendant,

Michelle Ruffin and other Jefferson Parish Sheriff officers were not reasonable, justified nor

was it necessary under the circumstances.

         38. Defendant, Michelle Ruffin actions were not objectively reasonable because they




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followed a procedure designed to inflict excessive and deadly force in restraining

individuals in a non-life-threatening situation.

          39. Plaintiff will show that Defendant, Michelle Ruffin, denied Ms. Reese her right

to be free from the use of excessive force in violation of the Fourth Amendment to the U.S.

Constitution.

          40. Defendant, Michelle Ruffin, embarked on a willful, malicious, reckless and

outrageous course of conduct that was intended to cause and in fact caused Ms. Reese to

suffer extreme and mental and emotional distress, agony and anxiety.

          41. As a result of these Constitutional violations to Ms. Reese and the injuries she

sustained, Plaintiff seeks compensation as set forth more specifically in the section of this

Complaint entitled ' Damages '.

    B. FAILURE TO INTERVENE IN USE OF EXCESSIVE FORCE,
DEFENDANTS NGUYEN, RIOS, LEFLORE, ADAMS, BENTEL, RABB AND
THAMES (Individually and in their official capacities) Count II - 42 U.S.C. §1983

          42. Plaintiff incorporates by reference paragraph 1 through 41 as if fully set forth

herein.

          43. Officers Nguyen, Rios, Leflore, Adams, Bentel, Rabb and Thames witnessed the

use of excessive force by their colleague against Ms. Reese and had ample time to intervene

in order to prevent or mitigate injury to her.

          44. Any reasonable officer in the position of these Officers would have recognized

that the force being used against Ms. Reese was unconstitutionally excessive and would

have known that they had a duty to take reasonable measures to prevent harm to Ms. Reese.

          45. These Officers failed to take any action to prevent harm to Ms. Reese and thereby

proximately caused unconstitutionally excessive force to be inflicted upon Ms. Reese. That



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unconstitutional force resulted in grave physical injuries and psychiatric distress to Ms.

Reese.

          46. In depriving Ms. Reese of her rights under the United States Constitution, the

Officers acted under color of law in their respective capacities as Jefferson Parish Sheriff

Officers, and their actions and omissions were conducted within the scope of their

respective official duties or employment. This deprivation under color of law is actionable

under, and may be redressed by, 42 U.S.C. §1983.


      C. VIOLATION OF THE DUE PROCESS CLAUSE OF THE FOURTEENTH
AMENDMENT, DEFENDANT MICHELLE RUFFIN (Individually and in her official
capacity) Count IV - 42 U.S.C. §1983

          47. Plaintiffs incorporates by reference paragraph l through 46 as if fully set forth

herein.

          48. Michelle Ruffin used unnecessary, unreasonable, and excessive force against Ms.

Reese, depriving Ms. Reese of rights, privileges, and immunities secured to her by the Due

Process Clause of the Fourteenth Amendment to the Constitution of the United States.

          49. At all times, Michelle Ruffin was acting under color of law and was aware that

uses of force without justification and/or legal cause are unlawful.

          50. Michelle Ruffin and various Jefferson Parish Sheriff officer’s conduct shocked

the conscience and was so brutal and offensive that it did not comport with traditional ideas

of fair play and decency. Michelle Ruffin conduct intended to injure Ms. Reese in a way

unjustifiable by any legitimate government interest.

          51. Michelle Ruffin, in her individual capacity, is liable to Ms. Reese for violation of

her Fourteenth Amendment rights, pursuant to 42 U.S. C. § 1983.




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      D. FAILURE TO TRAIN, SUPERVISE, AND DISCIPLINE OFFICER
RUFFIN, DEFENDANT, JOSEPH P. LOPINTO, III (Individually and their official
capacity) Count V - 42 U.S.C. §1983


          52. Plaintiff incorporates by reference paragraphs 1 through 51 as if fully set forth

herein.

          53. Defendants named in this Count, acting individually and together, under color of

law, acted to violate Wadnisha Reese’s rights to due process of law and to be free from

excessive force protected under the Fourth and Fourteenth Amendments.

          54. Prior to January 20, 2021, Joseph P. Lopinto, III, knew or should have known of

defendant, Michelle Ruffin, escalating encounters with the public.

          55. Defendant, Lopinto, in his official and individual capacity, failed to train and/or

supervise his subordinates, namely Michelle Ruffin, to ensure that his subordinates did not

violate members of the public’s rights protected under the Fourth and Fourteenth

Amendments. This failure to train and/or supervise was a moving force in the excessive use

of force by Michelle Ruffin and various other Jefferson Parish Sheriff Officers in beating

Ms. Wadnisha Reese. At all pertinent times herein, Defendant Lopinto, was aware of the

need to supervise, train, investigate, and discipline his subordinates in order to ensure that

they did not violate the rights of members of the public. This defendant ignored that need

and acted unreasonably and with deliberate indifference and disregard for Ms. Wadnisha

Reese’s constitutional rights as described above.

          56. As final policymakers for Jefferson Parish Sheriff Office, Lopinto, in his

individual and official capacity, acting individually and together, violated Ms. Wadnisha

Reese’s constitutionals rights by establishing and maintaining policies, customs, usages,

practices, and procedures that he knew would deprive members of the public, including Ms.

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Wadnisha Reese, of her constitutional rights protected under the Fourth and Fourteenth

Amendments.

       57. Further this Defendant failed to establish and maintain policies to ensure

constitutional police conduct, and this Defendant knew or should have known that such

failure would deprive members of the public, including Ms. Wadnisha Reese, of her

constitutional rights under the Fourth and Fourteenth Amendments.

       58. These policies, customs, usages, practices, and/or procedures were a moving

force in the unlawful beating of Ms. Wadnisha Reese. At all pertinent times herein,

Defendant Lopinto was aware that the policies, procedures, practices, customs, and usages

they established for Jefferson Parish Sheriff Office would result in violations of

constitutional rights. These defendants ignored that risk and acted unreasonably and with

deliberate indifference to Ms. Wadnisha Reese’s constitutional rights as described above.

       59. At all pertinent times, Defendants named in this Count, individually and

collectively, were acting under color of state law and in the course and scope of their

employment. Defendants named in this Count acted unreasonably, recklessly, and with

deliberate indifference and disregard for the safety and constitutional rights of Ms.

Wadnisha Reese by failing to prevent the misconduct of Jefferson Parish sheriff officers.

       60. As a result of these Constitutional violations to Ms. Reese and the injuries she

sustained, Plaintiff seeks compensation as set forth more specifically in the section of this

Complaint entitled ' Damages".

       E. MONELL VIOLATION OF MS. REESE’S CIVIL RIGHTS BASED ON
       POLICIES, PATTERNS, OR PRACTICES THAT SUBJECTED MEMBERS OF
       THE PUBLIC TO EXCESSIVE USES OF FORCE, DEFENDANT, JOSEPH P.
       LIPINTO, III (In his official capacity) Count VI - 42 U.S.C. §1983



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          61. Plaintiff incorporates by reference paragraphs 1 through 60 as if fully set forth

herein.

          62. Defendants named in this Count, Joseph P. Lipinto, III, acting individually and

together, under color of law, violated Ms. Reese’s right to be free from unconstitutional seizure

and excessive use of force and the right to due process and equal protection of the laws as

protected by the Fourth and Fourteenth Amendments of the United States Constitution and 42

U.S.C § 1983.

          63. They did so by establishing and maintaining insufficient policies, patterns, customs,

trainings, or practices that they knew would fail to prevent excessive uses of force against

members of the public. On information and belief, there was a policy, pattern, and/or practice of

Jefferson Parish Sheriff officers engaging in unjustified, unreasonable, and excessive uses of

force and verbal and physical abuse of members of the public. Further, on information and

belief, there was a pattern and/or practice of failing to adequately, promptly, and properly

investigate misconduct and discipline officers for infractions of policy and constitutional rights.

Finally, on information and belief, there was a pattern and/or practice of failing to establish

adequate policies and/or maintaining inadequate policies. All of these patterns and/or practices

resulted in known deficiencies in training, supervision, and policy, which resulted in acts of

unconstitutional policing.

           64.    Ms. Reese was individually harmed by these policies, patterns, and/or practices

 because they resulted in her beating and inhuman treatment by Officer Ruffins and various

 other Jefferson Parish Sheriff Officers.

           65.    At all pertinent times, Defendants named in this Count, individually and

 collectively, acted unreasonably, recklessly, and with deliberate indifference and disregard for



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 the safety and constitutional rights of Ms. Reese by establishing the above-described policies,

 patterns, or practices.

        66. The above-named Defendants are therefore liable to Ms. Reese for the violation

of constitutional rights described above pursuant to Monell v. Dept. of Soc. Servs., 436 U.S.

658 (1978).

        F. SUPPLEMENTAL STATE LAW CLAIM FOR ASSAULT AND BATTERY
        RESULTING IN INJURY TO WADNISHA REESE, DEFENDANTS RUFFIN,
        LOPINTO AND VARIOUS JEFFERSON PARISH SHERIFF OFFICERS Count
        VII


        67. Plaintiff incorporates by reference paragraphs 1 through 66 as if fully set forth herein.

        68. Michelle Ruffin intended to inflict a harmful or offensive contact upon Ms.

Wadnisha Reese in the process of choking and punching Ms. Reese. The seizure and detention

of Ms. Reese was unjustified by legal authority. Thus, Michelle Ruffin committed the

intentional torts of assault and battery.

        69. Michelle Ruffin was acting in the course and scope of her employment at all times

relevant to this claim.

        70. As a direct and proximate result of the Defendant Michelle Ruffin along with

various Jefferson Parish Sheriff Officers’ misconduct, Plaintiff suffered damages, including

bodily injury, pain, suffering, severe mental and emotional distress, anguish, humiliation, loss

of liberty, and loss of income, as set forth more fully above.

        71. Defendant Joseph P. Lopinto, III, is liable for the intentional torts described in

paragraph 61 under the doctrine of respondeat superior because he maintained the employ and

was responsible for the supervision of Defendant Michelle Ruffin. Pursuant to Louisiana Civil

Code art. 2320, “employers are answerable for the damage occasioned by their servants and



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overseers, in the exercise of the functions in which they are employed.”

       72. At all times pertinent herein, these Defendants, individually and collectively, acted

intentionally, maliciously, recklessly, and/or negligently towards Reese.


       G. SUPPLEMENTAL STATE LAW CLAIMS FOR INTENTIONAL
       INFLICTION OF EMOTIONAL DISTRESS RESULTING IN INJURY TO
       WADNISHA REESE, DEFENDANTS RUFFIN, LOPINTO AND VARIOUS
       JEFFERSON PARISH SHERIFF OFFICERS Count VIII


          73.   Plaintiff incorporates by reference paragraphs 1 through 72 as if fully set forth

herein.

          74.   Michelle Ruffin’s actions in beating Ms. Reese was extreme and outrageous

conduct that caused Ms. Reese severe emotional distress. Michelle Ruffin knew or should have

known that such distress would be the outcome of her actions and therefore is liable for the

intentional infliction of emotional distress. In the alternative, Ruffin is liable for negligent

infliction of emotional distress.

          75.   Michelle Ruffin was acting in the course and scope of her employment at all

 times relevant to this claim.

          76.   As a direct and proximate result of the Defendant Michelle Ruffin’s

 misconduct, Plaintiff suffered damages, including bodily injury, pain, suffering, severe mental

 and emotional distress, anguish, humiliation, loss of liberty, and loss of income, as set forth

 more fully above.

          77.   Defendant Joseph P. Lopinto, III, is liable for the intentional torts described in

 paragraph 71 under the doctrine of respondeat superior because he maintained the employ and

 was responsible for the supervision of Defendant Michelle Ruffin. Pursuant to Louisiana Civil

 Code art. 2320, “employers are answerable for the damage occasioned by their servants and

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 overseers, in the exercise of the functions in which they are employed.”

           78.   At all times pertinent herein, these Defendants, individually and collectively,

 acted intentionally, maliciously, recklessly, and/or negligently towards Reese.



       H. FALSE IMPRISONMENT (State Law) Count IX


       79. Plaintiff incorporates by reference paragraphs 1 through 72 as if fully set forth herein.

       80. Ms. Reese was imprisoned in Jefferson Parish Prison through April 22, 2021.

       81. As a direct and proximate result of Ms. Reese’s imprisonment, Ms. Reese suffered

actual physical, emotional, and economic harm.

       I. MALICIOUS PROSECUTION (State Law) Count X

       82. Plaintiff incorporates by reference paragraphs 1 through 81 as if fully set forth

 herein.

       83. Ms. Reese was charged with the following offenses arising out of the incident of

 January 20, 2021: battery of a police officer with injury, battery of a police officer and

 resisting police officer with force of violence.

      84. Each of these charges was directly and maliciously caused by the Defendants.

      85. Defendants furthered the prosecution of Ms. Reese by submitting false and misleading

 statements.

      86. As a direct and proximate result of this malicious prosecution, Ms. Reese suffered

 actual physical, emotional, and economic harm.




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         J. PUNITIVE DAMAGES Count XI

         87. Additionally and in the alternative, the conduct of Defendants was done with

malice. As such, Plaintiff requests punitive and exemplary damages to deter this type of

conduct in the future.

    88. In the alternative, such heedless and reckless disregard of Ms. Reese’s

rights, safety and welfare is more than momentary thoughtlessness, inadvertence or

misjudgment. Such unconscionable conduct goes beyond ordinary negligence, and as

such Plaintiff requests punitive and exemplary damages are awarded against

Defendants in a sum which is within the jurisdictional limits of this court.


    V.      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff Wadnisha Reese prays that after due proceedings, there be judgment in

her behalf and against all defendants, jointly, severally and in solido, as follows:

    a. Compensatory, special and punitive damages on behalf of plaintiff as previously outlined

         in Paragraph 87;

    b. That plaintiff be awarded reasonable attorney fees and all costs of these proceedings;

    c. That judicial interest be awarded from the date of judicial demand;

    d. That this matter be tried by jury; and

    e. All other relief that this Court deems just and proper.




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                              Respectfully submitted,



                              /s/ Raynique T. Keelen________________
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